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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

LISA RYAN MURPHY                                            PLAINTIFF

v.                    No: 3:20-cv-11-DPM-JTR
                       I
TONI BRADLEY, Warden,
McPherson Unit, et al.                                  DEFENDANTS

                               ORDER
     1. The Court withdraws the reference.
     2. Motions to voluntarily dismiss, Doc. 49 & 52, granted.
Murphy's complaint will be dismissed without prejudice. Motions for
summary judgment, Doc. 28 & 42, denied without prejudice as moot.
     So Ordered.


                                       D .P. Marshall Jr.
                                       United States District Judge
